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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA



JANE DOE as next friend for “FIONA,” a minor,                 Civ. No. 1:16-cv-303
“ERIN,” “VICKY,”
JANE ROE as next friend for
“SKYLAR” and “SAVANNAH,” minors,                              JOINT STATUS UPDATE
JOHN DOE as next friend for “SALLY”
and “SIERRA,” minors, and “SARAH”

                                         Plaintiffs,
v.

KIRK NESSET,

                                         Defendant.



The parties, by counsel, hereby file this Joint Status Update. In support thereof, the parties state
as follows:

     1. On April 27, 2018, the parties attended mediation and reached an oral settlement

        agreement.

     2. On May 29, 2018, the Court directed the parties to enter a joint stipulation of dismissal or

        inform the Court as to why they cannot do so.

     3. On June 1, 2018, the parties filed a Joint Status Update requesting 30 days to complete

        and execute the settlement agreement.

     4. In the criminal case against the Defendant (Case No. 1-14-cr-00033-DSC), he was

        ordered to pay restitution to Plaintiffs Vicky and Sarah.

     5. In order to complete the settlement agreement with regards to Plaintiffs Vicky and Sarah,

        it has been necessary for the parties to determine whether the Defendant’s retirement

        accounts have been garnished and restitution satisfied.
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   6. The Defendant’s counsel has been in communication with the criminal court clerk

       regarding garnishment and the Defendant’s restitution obligation.

   7. The parties are substantially in agreement with the terms of plaintiffs’

       proposal. However, because of the interconnection of this settlement with the terms of

       the restitution order in the underlying criminal matter there is at present some uncertainty

       about the completion of the collection efforts undertaken by the Government in that

       matter. The parties are endeavoring to confirm the status of a garnishment action as there

       are offset considerations affecting the amount of the civil settlement in this matter.

   8. Once the parties are able to confirm through the clerk of court what the status is of the

       garnishment then the settlement agreement terms can be modified as required. The

       parties are in agreement as to what that modification should be once it is confirmed that

       the garnishment money has been paid to the clerk. The parties anticipate this can all be

       accomplished in thirty (30) days.


   WHEREFORE, for the foregoing reasons, the parties respectfully request the Court grant

them an additional 30 days to finalize settlement in this matter.


Respectfully submitted,


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